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                          Appendix A
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                                                GEORGE K. LERNER, M.D.
                                                             PSYCHIATRY



August 12, 2023




Dear Judge Kaplan:


Mr. Sam Bankman-Fried has been under my psychiatric care since February of 2019. Mr. Bankman-Fried
has a history of Major Depressive Disorder and Attention Deficit Hyperactivity Disorder (ADHD).

For over 5 years, Mr. Bankman-Fried has been prescribed Emsam 9mg/24hrs transdermal patch.

The Emsam patch is FDA-approved for treatment of Major Depression. The oral version of this medication,
selegiline, is not FDA-approved for treatment of Major Depression. The transdermal patch allows 73% of
the medication to enter the blood stream while the oral version delivers 4% into the bloodstream.
Additionally, due to its interaction with the gut, the oral medication has a dangerous side effect, the
potential for hypertensive crisis (a severe elevation of blood pressure), and thus it is not possibly to give a
high dose of selegiline orally to compensate for the poor rate of delivery into the bloodstream. The
Emsam patch is unique and there are no equivalent alternative treatments.

Of note, Mr. Bankman-Fried has tried other antidepressants (SSRI and Wellbutrin) and they were
ineffective for his symptoms. Additionally, there have been times when Mr. Bankman-Fried did not have
access to the Emsam patch (typically when travelling/abroad) and exhibited symptoms of depression,
including lethargy, anhedonia, low motivation, and increased ruminations.

For the past 3 years, Mr. Bankman-Fried has been prescribed Adderall 10mg tablet 3-4x/day (the
medication is FDA-approved for doses up to 45mg/24hrs) for ADHD. This medication has been effective
for treatment of Mr. Bankman-Fried’s inattention and ADHD-related rumination.

Without the aforementioned psychiatric medications, Emsam 9mg/24hrs patch and Adderall 10mg tablets,
Mr. Bankman-Fried will experience a return of his depression and ADHD symptoms and will be severely
negatively impacted in his ability to assist in his own defense.


Sincerely,
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George K LLerner, MD
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